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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



  DISPLAY TECHNOLOGIES, LLC,

                    Plaintiff,
                                                Civil Action No. 2:17-cv-192
              v.
                                                JURY TRIAL DEMANDED
  CANON U.S.A., INC.,

                    Defendant.



  DEFENDANT CANON U.S.A., INC.’S MOTION TO DISMISS PLAINTIFF DISPLAY
             TECHNOLOGIES, LLC’S AMENDED COMPLAINT
        FOR IMPROPER VENUE PURSUANT TO FED. R. CIV. P. 12(B)(3)
      AND FAILURE TO STATE A CLAIM UNDER FED. R. CIV. P. 12(B)(6 )
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 I.     INTRODUCTION

        On March 13, 2017, Plaintiff Display Technologies, LLC (“Plaintiff” or “DTL”) filed an

 Amended Complaint (“Complaint”) for patent infringement against Defendant Canon U.S.A., Inc.

 (“Defendant” or “Canon U.S.A.”). Dkt. No. 3.1 The Complaint only asserts U.S. Patent No.

 9,300,723 (“the ’723 patent”). Id.

        On April 7, 2017, the Court granted an unopposed motion to extend the time for Canon

 U.S.A. to answer or otherwise respond to the Complaint to May 10, 2017. On April 24, 2017, the

 Court granted an unopposed application to further extend the time for Canon U.S.A. to answer,

 move or otherwise respond to the Complaint to May 25, 2017. After determining that Plaintiff’s

 service of the Complaint was incomplete, Defendant waived service of the summons and accepted

 service of the Complaint on May 15, 2017, and the deadline to answer, move or otherwise respond

 to the Complaint is now July 14, 2017. Canon U.S.A. now files this Motion under (1) Federal

 Rule of Civil Procedure 12(b)(3) and 28 U.S.C. § 1406(a) to dismiss the Complaint in its entirety

 for improper venue; and (2) Federal Rule of Civil Procedure 12(b)(6) to dismiss any claims of

 indirect or willful infringement for failure to state a claim.

 II.    SUMMARY OF ARGUMENT

        DTL’s Complaint contends that venue is proper under 28 U.S.C. §§ 1391(c) and 1400(b)

 by alleging Canon U.S.A. transacts business in this District. Dkt. No. 3 ¶ 4. As noted by the

 Supreme Court in TC Heartland, LLC v. Kraft Food Groups Brands, LLC, venue in patent cases

 is governed solely by the patent specific venue statute of 28 U.S.C. § 1400(b). Accordingly, venue

 in this District in this case is proper only if (1) Canon U.S.A. is incorporated in Texas or (2) Canon



 1
   DTL filed the Amended Complaint the same day as the original Complaint because the original
 Complaint mistakenly listed “Digital Technologies, LLC” as the named plaintiff in the caption.
 See Dkt. No. 1.


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 U.S.A. has committed acts of infringement in and has a regular and established place of business

 in this District. See TC Heartland, 137 S.Ct. 1514, 1517 (2017). DTL has the burden of proving

 venue. As evidenced by the Complaint, DTL concedes that Canon U.S.A. is neither incorporated

 in Texas nor has a principal place of business in Texas. Dkt. No. 3 ¶ 2. Based on the proper

 interpretation of the patent venue statute outlined by the Supreme Court in TC Heartland, DTL

 fails to plead facts sufficient to establish proper venue in this District. Accordingly, Canon U.S.A.

 respectfully submits that this case should be dismissed pursuant to 28 U.S.C. § 1406(a).

        Moreover, DTL fails to plead any facts that would make any claim of indirect or willful

 infringement “plausible on its face.” To the extent DTL makes any claim for indirect or willful

 infringement, as evidenced by its prayer for relief, Canon U.S.A. respectfully submits that such

 claims should be dismissed under Rule 12(b)(6) for failure to state a claim upon which relief can

 be granted.

 III.   STATEMENT OF FACTS

        DTL filed its Complaint for patent infringement against Canon U.S.A. on March 13, 2017.

 Dkt. No. 3. DTL alleges that Canon U.S.A. is a New York corporation with a principal place of

 business at 1 Canon Park, Melville, New York 11747. Id. ¶ 2.

 IV.    ARGUMENT

        A.      Venue in Patent Actions is Governed Solely by § 1400(b).

        It is a well-settled principle of statutory construction that “the specific governs the general.”

 Morales v. Trans World Airlines, Inc., 504 U.S. 374, 384 (1992); see also Morton v. Mancari, 417

 U.S. 535, 550-51 (1974) (“Where there is no clear intention otherwise, a specific statute will not

 be controlled or nullified by a general one, regardless of the priority of enactment.”) Prior to 1988,

 there was no dispute that § 1400(b) was “the sole and exclusive provision controlling venue in




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 patent infringement actions” and such actions were not subject to the general venue provision of §

 1391. Fourco Glass Co. v. Transmirra Products Corp., 353 U.S. 222, 220 (1957). This statutory

 construction was consistent with the purpose of § 1400(b) to narrow venue in patent suits so that

 defendants could not be sued in any district in which they could be served. Schnell v. Peter

 Eckrich & Sons, Inc., 365 U.S. 260, 262 (1961).

        In a unanimous decision, the Supreme Court confirmed that the holding of Fourco Glass

 Co. v. Transmirra Products Corp. is the correct interpretation of § 1400(b) and “a domestic

 corporation ‘resides’ only in its State of incorporation.” TC Heartland, LLC, 137 S.Ct. at 1317.

 The Supreme Court noted there has always been a distinction between the use of the word “resides”

 in the general and venue patent statutes. Id. at 1519. Notably, Congress always intended § 1400(b)

 to be a stand-alone provision where “domestic corporations . . . were subject to venue only in their

 States of incorporation.” Id. Moreover, § 1400(b) has been unchanged since 1948, and nothing

 in the amendments to § 1391 provide a “relatively clear” indication to modify the residence

 definition of § 1400(b). Id. at 1520. To the contrary, the most recent amendment to § 1391(c) that

 it “does not apply when ‘otherwise provided by law’” acknowledges that certain venue statutes

 (such as § 1400(b)) retain their definitions of “resides” in conflict with the default definition in the

 general venue statute. Id. at 1521. The Supreme Court confirmed the principle of statutory

 construction that the specific trumps the general unless there is a clear indication otherwise, and

 thus, the sole provision governing venue in patent actions is 28 U.S.C. § 1400(b).

        B.      Venue Over Canon U.S.A. Is Improper In This District Under § 1400(b).

        As venue in a patent action is defined exclusively by § 1400(b), there are two bases for

 proper venue in a patent case involving a domestic corporation: (1) the district in which a

 defendant “resides;” and (2) a district in which the defendant both has a “regular and established




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 place of business” and has “committed acts of infringement.” Now that Canon U.S.A. has

 challenged venue under Rule 12(b)(3), DTL has the burden of proving venue by showing Canon

 U.S.A.’s presence in this District. See Gaddis v. Calgon Corp., 449 F.2d 1318, 1319-20 (5th Cir.

 1971); see also LoganTree LP v. Garmin Int’l, Inc., No. SA-17-CA-0098-FB, 2017 WL 2842870,

 at *1 (W.D. Tex. June 22, 2017) (“Plaintiff has the burden of proving venue is proper in the

 Western District of Texas now that defendants have filed their motion to dismiss”); Luci Bags LLC

 v. Younique, LLC, No. 4:16-CV-00377, 2017 WL 77943, at *3 (E.D. Tex. Jan. 9, 2017) (“[O]nce

 a defendant has objected to venue, the burden shifts to the plaintiff to establish that venue is

 proper”); Watts v. L-3 Commc’s Corp., No. 2:12-CV-28-JRG, 2012 WL 4480721, *1 (E.D. Tex.

 Sept. 26, 2012) (“Upon the filing of a Rule 12(b)(3) motion, the burden of proving proper venue

 shifts to the Plaintiff.”). Here, DTL does not meet its burden of proving venue because DTL fails

 to plead facts that Canon U.S.A. satisfies either prong of § 1400(b).

                1.     Canon U.S.A. Does Not Reside in Texas.

        With respect to the first prong, DTL cannot establish Canon U.S.A. resides in this District

 under § 1400(b). The Supreme Court has consistently defined corporate residence under § 1400(b)

 as the place of incorporation only. TC Heartland, 137 S.Ct. at 1517; see also Brunette Mach.

 Works, Ltd. v. Kockum Indus., Inc., 406 U.S. 706, 707 n.2 (1972) (“the residence of a corporation

 for purposes of § 1400(b) is its place of incorporation.”) (citing Fourco Glass co. v. Transmirra

 Prods. Corp., 353 U.S. 222 (1957)). There is no dispute that Canon U.S.A. is incorporated in New

 York. Specifically, DTL pleads that “Upon information and belief Defendant Canon U.S.A., Inc.

 is a corporation organized and existing under the laws of the State of New York.” Dkt. No. 3 ¶ 2

 (emphasis added). Accordingly, Canon U.S.A. does not “reside” in this District under § 1400(b).




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                2.      DTL Does Not Allege Canon U.S.A. Has A “Regular And Established
                        Place Of Business” Within E.D. Texas.

        Moreover, DTL cannot establish Canon U.S.A. has a “regular and established place of

 business” in this District, as required under the second prong of § 1400(b). DTL knows this to be

 the case as it only pleads that “Defendant has transacted business in this district, and has committed

 acts of patent infringement in this district.” Dkt. No. 3 ¶ 4. But merely doing business in the

 District is not enough. Phillips v. Baker, 121 F.2d 752, 755-56 (9th Cir. 1941); see also LoganTree,

 2017 WL 2842870 at *1. The defendant must be “‘engaged in carrying on in a continuous manner

 a substantial part of its ordinary business’ within the district in which action is brought.” Phillips,

 121 F.2d at 756. (citations omitted) (emphasis added); see also LoganTree, 2017 WL 2842870 at

 *1 (“[T]he appropriate inquiry is whether the corporate defendant does its business in that district

 through a permanent and continuous presence.”) (quoting In re Cordis Corp., 769 F.2d 733, 737

 (Fed. Cir. 1985)). DTL makes no allegations that Canon U.S.A. carries on a substantial part of

 its business in this District—or otherwise has a permanent and continuous presence—to support

 a finding that Canon U.S.A. has a “regular and established place of business” in this District

        This Court has recently established four factors to consider when determining what is a

 “regular and established place of business” in the District: (1) defendant’s physical presence in the

 district; (2) defendant’s representations that it has a presence in the district; (3) benefits the

 defendant receives from business in the district; and (4) the extent defendant targets interactions

 towards the district. Raytheon Co. v. Cray, Inc., C.A. No. 2:15-CV-01554-JRG, 2017 WL

 2813896, at *10-*14 (E.D. Tex. June 29, 2017). In Raytheon, the Court held that venue was

 satisfied based on specific allegations in the pleadings that the defendant specifically directed its

 activities towards the Eastern District.   Id. at *13. Raytheon made specific allegations that the

 accused infringer “purposefully directed its sales and marketing activities . . . towards . . . the



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  Eastern District of Texas.” Raytheon Co. v. Cray, Inc., C.A. No. 2:15-CV-01554-JRG, Dkt. 1 ¶5.

  Raytheon also alleged that the defendant maintained extensive facilities and had sales and

  marketing employees throughout the Eastern District and the State of Texas. Id. ¶ 6. Moreover,

  Raytheon alleged specific acts of continuing infringement within the Eastern District and

  specifically named Cray employees who were allegedly associated with such acts. Id. ¶¶ 6-7. But

  the Complaint in this case makes no such allegations.

         Rather, DTL’s Complaint merely pleads facts that only establish Canon U.S.A. (1) resides

  in New York by virtue of its state of incorporation and (2) has a principal place of business in

  Melville, New York. Dkt. No. 3 ¶ 2. With respect to any activity within the Eastern District, the

  Complaint only alleges that Canon U.S.A. has “transacted business” in the district. Id. ¶ 4. At a

  minimum, the Complaint fails to provide notice as to the grounds for venue in this District. See

  Fed. R. Civ. P. 8(a) (“A pleading that states a claim for relief must contain a short and plain

  statement of the grounds for the court’s jurisdiction, . . . .); Ashcroft v. Iqbal, 556 U.S. 662, 679

  (“While legal conclusions can provide the framework for a complaint, they must be supported by

  factual allegations.”); Bell Atl. Corp. v. Twombly, 550 U.S. 544, (2007) (“Factual allegations [in a

  complaint] must be enough to raise a right to relief above the speculative level.”).

         Further, DTL’s general allegations regarding specific and personal jurisdiction that Canon

  U.S.A. is “regularly doing or soliciting business, engaging in other persistent courses of conduct,

  and/or deriving substantial revenue from goods and services provided to individuals in Texas and

  in this judicial district” are not enough to establish venue. See Dkt. 3 ¶ 5. The Court in Raytheon

  held “that ‘the regular and established place of business standard requires more than the minimum

  contacts necessary for establishing personal jurisdiction or for satisfying the ‘doing business’




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  standard of the general venue provision.’” 2017 WL 281396, at *13 n.11 (quoting LoganTree LP,

  2017 WL 2842870, at *1).

         Under the Court’s four factor test, the facts pled in the Complaint do not permit a reasonable

  inference that Canon U.S.A. has a “regular and established place of business” in this District as

  required for venue under § 1400(b).2

         Other courts in the Fifth Circuit have also weighed in on what is “a regular and established

  place of business” for purposes of venue under § 1400(b). Just recently in LoganTree LP v. Garmin

  International, the court dismissed for lack of venue because defendants did not have a “regular and

  established place of business” in the district. 2017 WL 2842870, at *2. Specifically, the court

  evaluated whether the defendants had a “a permanent and continuous presence” in the district. Id.

  at *1 (emphasis added) (quoting In re Cordis Corp., 769 F.2d at 737). The court determined that

  none of authorization to do business in Texas, permitting website access to Texas distributors, or

  selling products in Texas supported “a finding that defendants have a permanent and continuous

  presence which shows a regular and established place of business in the” district. Id. at *2.

  Likewise, DTL’s allegation that Canon U.S.A. has “transacted business in this district” is not

  enough to support a finding of a regular and established place of business in the Eastern District.

         Accordingly, Plaintiff fails to plead sufficient facts that establish that Canon U.S.A. is

  subject to venue in this District for a patent action. Moreover, Plaintiff cannot demonstrate it would

  be prejudiced if required to refile its action in the proper venue. Therefore, Canon U.S.A.

  respectfully submits that DTL has failed to meet its burden to prove venue under § 1400(b) and the

  proper remedy is dismissal under § 1406(a).



  2
   Canon U.S.A. does not concede, and specifically contests, that DTL has sufficiently pled facts to
  establish that Canon U.S.A. has committed acts of infringement in this District as Canon U.S.A.
  does not make, import, offer to sell, or otherwise sell the accused android smartphones.


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                 3.      The Interest of Justice Does Not Compel A Transfer To The U.S.
                         District Court for the Eastern District of New York.

         As noted above, Canon U.S.A. moves for dismissal under 28 U.S.C. § 1406(a) because it is

  not a resident of Texas and DTL fails to plausibly allege that Canon U.S.A. has a “regular and

  established place of business” and has committed acts of infringement in this District.

  Nevertheless, 28 U.S.C. § 1406(a) notes that “if it be in the interest of justice, [the Court may]

  transfer such case to any district or division in which it could have been brought.” Accordingly,

  Canon U.S.A. respectfully submits that any transfer under § 1406(a) should be to the Eastern

  District of New York as the Complaint only pleads facts that establish venue in that forum.

         Such a transfer, however, would not “be in the interest of justice.” While this determination

  is within the sound discretion of the Court, none of the facts here suggest such a transfer is necessary

  in the interest of justice. The ’723 Patent just issued in 2016, so if DTL timely refiles in a proper

  venue then no claim for damages would be barred due to the time limitation of 35 U.S.C. § 286.

  Moreover, the action is at an early stage and the parties have not invested substantial resources in

  litigation. Accordingly, the interest of justice does not require a transfer under § 1406(a) but any

  such transfer should only be to the Eastern District of New York based on the facts set forth in the

  Complaint.

         C.      Plaintiff Fails To Plead Willful Or Indirect Infringement As Basis For Relief
                 To Certain Damages Under 35 U.S.C. § 284 Or Injunction Related To Induced
                 Or Contributory Infringement

         Despite requesting relief based on indirect infringement and willfulness, DTL has failed to

  properly plead claims for indirect infringement and willfulness in its Complaint. Therefore, DTL’s

  Complaint must be dismissed to the extent DTL pleads claims for indirect and willful infringement.

                 1.      Legal Standards.

         In order to survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a



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  complaint must contain “a short and plain statement of the claim to show that the pleader is entitled

  to relief.” Fed. R. Civ. P. 8(a). “Detailed factual allegations are not required, but the facts pled

  must, when accepted as true, state a claim for relief that is ‘plausible on its face,’ i.e., the facts pled

  must allow the Court to draw the reasonable inference that the defendant is liable for the

  misconduct alleged.” Tierra Intelectual Borinquen, Inc. v. ASUS Computer Int’l, Inc. No. 2:13-cv-

  38-JRG, 2014 WL 894805, at *2 (E.D. Tex. Mar. 4, 2014) (quoting Twombly, 550 U.S. at 570).

  The court must view the facts in light most favorable to the plaintiff and accept all of the well-

  pleaded facts as true. Id. (citing In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir.

  2007)).

            A plaintiff claiming induced infringement under 35 U.S.C. § 271(b) must plausibly allege:

  “(1) that a third party . . . has performed acts sufficient to constitute infringement; (2) that the

  defendant knew of the patent and that the acts in question would infringe; and (3) that the defendant

  had specific intent to encourage the third party’s infringement.” Id. (citing DSU Med. Corp. v. JMS

  Co., 471 F.23d 1293, 1304-06 (Fed. Cir. 2006); MEMC Elec. Materials, Inc. v. Mitsubishi Material

  Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005)).

            A claim for contributory patent infringement under 35 U.S.C. § 271(c) must plausibly

  allege (1) an act of direct infringement, (2) that the defendant ‘knew that the combination for which

  its components were especially made was both patented and infringing,’ and (3) that the

  components have ‘no substantial non-infringing uses.’” Certified Measurement, LLC v.

  CenterPoint Energy Houston Elec. LLC, No. 2:14-cv-627-RSP, 2015 WL 14323324, at *2 (E.D.

  Tex. Mar. 30, 2015) (quoting Cross Med. Prods., Inc. v. Medtronic Sofamore Danek, Inc., 424

  F.3d 1293, 1312 (Fed. Cir. 2005)).

            In order to plead a claim for willful infringement, the plaintiff must plead culpable




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  infringement behavior that is “willful, wanton, malicious, bad-faith, deliberate, consciously

  wrongful, flagrant, or – indeed – characteristic of a pirate.” Halo Elecs., Inc. v. Pulse Elecs., Inc.,

  136 S. Ct. 1923, 1932 (2016). DTL’s Complaint, however, pleads no such facts that would allow

  the Court to plausibly infer that Canon U.S.A. intentionally or knowingly infringed the ’723 Patent.

  Id. at 1932-33. Because the Complaint asserts no facts to support claims of indirect or willful

  infringement in accordance with the foregoing legal standards, DTL fails to make any such claim

  “plausible on its face.”

                 2.      DTL Fails to Adequately Plead Claims of Indirect or Willful
                         Infringement.

         Claims of indirect infringement are brought under 35 U.S.C. §§ 271(b) (induced

  infringement) or 271(c) (contributory infringement). DTL’s Complaint states that it is only

  bringing an action for infringement arising under 35 U.S.C. § 271(a) (direct infringement). Dkt. 3

  ¶ 3.   Further, DTL’s Complaint does not plead any of the requisite elements of indirect

  infringement, such as a third party committing acts of infringement, Canon U.S.A.’s knowledge

  of the ’723 patent, Canon U.S.A.’s specific intent to encourage infringement, and whether the

  accused products have substantial non-infringing uses. Thus, despite its request for an injunction

  prohibiting induced and contributory infringement, DTL is not entitled to such relief because it

  has not adequately pled these causes of action.

         Similarly, DTL has requested damages under 35 U.S.C. § 284, a statute which allows for

  enhanced damages. DTL, however, fails to plead any of the requisite elements of willful

  infringement. Notably, DTL fails to plead that Canon U.S.A. has engaged in any culpable

  infringement behavior that is willful. Thus, DTL is not entitled to damages under § 284 based on

  a finding of willful infringement.

  V.       CONCLUSION



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         For the foregoing reasons, Defendant respectfully requests that the Court grant this Motion

  to Dismiss for improper venue pursuant to Rule 12(b)(3) and dismiss Plaintiff’s claims for relief

  related to indirect and willful infringement under Rule 12(b)(6) for failure to state a claim upon

  which relief can be granted.

  Dated 14th day of July, 2017.                        Respectfully Submitted,


                                                       /s/ Guy N. Harrison           .

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                                                       CANON U.S.A., INC.




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                                 CERTIFICATE OF SERVICE



         I hereby certify that on the 14th day of JuLY 2017, the foregoing was electronically filed

  with the Clerk of the Court using the CM/ECF system and that all counsel of record who are

  deemed to have consented to electronic service are being served via the CM/ECF system pursuant

  to Local Rule CV-5(a)(3).


                                                                               /s/ Guy N. Harrison
                                                                            Guy N. Harrison




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